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 4
 5                        UNITED STATES DISTRICT COURT
 6                       EASTERN DISTRICT OF CALIFORNIA
 7   UNITED STATES OF AMERICA,              )
                                            )     CR NO. 07-571-GEB
 8                  Plaintiff,              )
                                            )     RELATED CASE ORDER
 9             v.                           )
                                            )
10   CESAR QUINTERO-FELIX;                  )
     JASMIN RUIZ;                           )
11   ARMANDO SANCHEZ;                       )
     FELIX JAUREGUI;                        )
12   GENARO LUNA;                           )
     JAMES LAWRENCE HONEYCUTT;              )
13   JESUS AVILA-AVILA;                     )
     ERIC BROOKS; and                       )
14   AID LUANGRATH, JR.,                    )
                                            )
15                  Defendants.             )
                                            )
16
     UNITED STATES OF AMERICA,          )         CR NO. 08-122-EJG
17                                      )
                    Plaintiff,          )
18                                      )
     ERIC BROOKS, aka Adolfo Quiroz;    )
19   OLIVIA WIMMER, aka Celia Hipolito, )
                                        )
20                  Defendants.         )
     ___________________________________)
21
22             Examination of the above-entitled actions reveals that
23   they are related within the meaning of Local Rule 83-123(a), since
24   they are based on the same or similar claims.        Accordingly, the
25   assignment of the actions to the same judge is likely to effect a
26   substantial savings of judicial effort and is also likely to be
27   convenient for the parties.
28             The parties should be aware that relating the cases under
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 1   Local Rule 83-123 merely results in the actions being assigned to
 2   the same judge; no consolidation of the actions is effected.             Under
 3   the regular practice of this court, related cases are generally
 4   assigned to the judge to whom the first filed action was assigned.
 5                IT IS THEREFORE ORDERED that action CR No. 08-122 EJG is
 6   reassigned to Judge Garland E. Burrell, Jr. for all further
 7   proceedings.     Henceforth, the caption on documents filed in the
 8   reassigned case shall show the initials “GEB” instead of the other
 9   judge’s initials.
10                IT IS FURTHER ORDERED that the Clerk of the Court make
11   appropriate adjustment in the assignment of criminal cases to
12   compensate for this reassignment.
13                IT IS SO ORDERED.
14   Dated:    March 20, 2008
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16                                     GARLAND E. BURRELL, JR.
                                       United States District Judge
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